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                               EXHIBIT P


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
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    The Hidden Costs of Pretrial Detention


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EXECUTIVE SUMMARY


I  n the criminal justice system, the time between arrest and case
   disposition is known as the pretrial stage. Each time a person is
arrested and accused of a crime, a decision must be made as to whether
                                                                                      R EP ORT HIG HLIG H T S :


the accused person, known as the defendant, will be detained in jail                     Detaining low- and moderate-risk
awaiting trial or will be released back into the community. But pretrial                 defendants, even just for a few days,
detention is not simply an either-or proposition; many defendants are                    is strongly correlated with higher
held for a number of days before being released at some point before                     rates of new criminal activity both
their trial.                                                                             during the pretrial period and years
                                                                                         after case disposition; as length of
The release-and-detention decision takes into account a number of
                                                                                         pretrial detention increases up to
different concerns, including protecting the community, the need for
                                                                                         30 days, recidivism rates for low-
defendants to appear in court, and upholding the legal and constitutional
                                                                                         and moderate-risk defendants also
rights afforded to accused persons awaiting trial. It carries enormous
consequences not only for the defendant but also for the safety of                       increases significantly.
the community.
                                                                                         When held 2-3 days, low-risk
Little is known about the impact of pretrial detention on pretrial                       defendants are almost 40 percent
outcomes and post-disposition recidivism. Some researchers and legal                     more likely to commit new crimes
professionals believe there is a relationship between the number of days                 before trial than equivalent
spent in pretrial detention and the defendant’s community stability                      defendants held no more than
(e.g., employment, finances, residence, family), especially for lower-                   24 hours.
risk defendants. Specifically, the defendant’s place in the community
becomes more destabilized as the number of days of pretrial detention                    When held 8-14 days, low-risk
increases. This destabilization is believed to lead to an increase in risk for
                                                                                         defendants are 51 percent more
both failure to appear and new criminal activity. While this purported
                                                                                         likely to commit another crime
relationship makes intuitive sense, there has been no empirical evidence in
                                                                                         within two years after completion
existence to support or refute this idea. Beyond the relationship between
                                                                                         of their cases than equivalent
length of pretrial detention and pretrial outcomes, there is an additional
underdeveloped area of research — the impact of pretrial detention on                    defendants held no more than
post-disposition recidivism.                                                             24 hours.

Using data from the Commonwealth of Kentucky, this research
investigates the impact of pretrial detention on 1) pretrial outcomes
(failure to appear and arrest for new criminal activity); and 2) post-
disposition recidivism.




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Data on 153,407 defendants booked into a jail in Kentucky between July 1, 2009, and June 30, 2010, were used
to answer two broad research objectives: 1) Investigate the relationship between the length of pretrial detention
and pretrial outcome; and 2) Investigate the relationship between pretrial detention, as well as the length of
pretrial detention, and new criminal activity post-disposition. Depending on the research objective and its
associated research questions, subsamples of cases were drawn from this larger dataset of 153,407 defendants.

Multivariate models were generated that controlled for relevant factors including risk level, supervision status,
offense type, offense level, time at risk in the community, demographics, and other factors. Three critical
findings related to the impact of pretrial detention were revealed.

1. Length of Pretrial Detention and Failure to Appear (FTA) — Longer pretrial detentions, up to a certain
   point, are associated with the likelihood of FTA pending trial. This finding seems to be more consistent for
   defendants deemed to be low risk.

2. Length of Pretrial Detention and New Criminal Activity (NCA) — Longer pretrial detentions are
   associated with the likelihood of NCA pending trial. This is particularly true for defendants deemed to be
   low risk. The longer low-risk defendants are detained, the more likely they are to have new criminal activity
   pending trial. Defendants detained 2 to 3 days are 1.39 times more likely to have NCA than defendants
   released within a day; those detained 31 or more days are 1.74 times more likely.

3. Pretrial Detention and Post-Disposition Recidivism — Being detained pretrial for two days or more
   is related to the likelihood of post-disposition recidivism. Generally, as the length of time in pretrial
   detention increases, so does the likelihood of recidivism at both the 12-month and 24-month points.




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INTRODUCTION


Study Description
The current study investigates the correlation of pretrial detention with 1) pretrial outcomes (failure to appear,
hereafter FTA, and arrest for new criminal activity, hereafter NCA); and 2) post-disposition recidivism (new
criminal activity post-disposition, hereafter NCA-PD).


Research Objectives and Questions
The study includes two (2) research objectives and 8 related research questions, as shown below.

1. Investigate the relationship between the length of pretrial detention and pretrial outcome.

      a. Is the length of pretrial detention related to the likelihood of pretrial FTA once other relevant statistical
         controls are considered?
      b. Do the observed effects (of days spent in detention when predicting FTA) differ for sub-populations of
         defendants?
      c. Is the length of pretrial detention related to the likelihood of pretrial NCA once other relevant statistical
         controls are considered?
      d. Do the observed effects (of days spent in detention when predicting NCA) differ for sub-populations
         of defendants?

2. Investigate the relationship between pretrial detention, as well as the length of pretrial detention, and
   new criminal activity post-disposition (NCA-PD).

      a. Is pretrial detention related to NCA-PD?
      b. Do the observed effects of pretrial detention differ for sub-populations of defendants (likelihood of
         12-month NCA-PD and 24-month NCA-PD)?
      c. Is the length of pretrial detention related to NCA-PD?
      d. Do the observed effects of the length of pretrial detention differ for sub-populations of defendants
         (likelihood of 12-month NCA-PD and 24-month NCA-PD)?




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Dataset
The sample used for the current study includes all defendants arrested and booked into a Kentucky jail between
July 1, 2009, and June 30, 2010. This led to a working sample size of 153,407. The dataset does not represent
unique individuals, but rather includes all bookings within the study period. (Some individuals were booked
multiple times within the timeframe; calculating a unique count of individuals could not be performed reliably,
as unique identifiers were missing in almost 10% of the cases.) All cases in the sample reached final case
disposition. These data served as the sample of defendants used to respond to the research objectives. Depending
on the research objective and its associated research questions, subsamples of cases were drawn from this larger
dataset of 153,407 defendants. All bookings from July 1, 2010, to June 30, 2012, were added to the dataset to
develop post-disposition measures of arrest for new criminal activity.

The measures in this study included the following:

•     defendant demographics;
•     defendant risk;
•     offense characteristics including offense level (e.g., felony or misdemeanor) as well as felony offense class (A,
      B, C, D) for some analyses;
•     details of pretrial status (released or detained, and length of detention);
•     failure to appear and arrest for new criminal activity during pretrial release;
•     time at risk in the community for both pretrial and post-disposition periods; and
•     new criminal activity post-disposition (NCA-PD).



Methodology
Bivariate and multivariate models were used to complete the analysis. Most commonly used was logistic regression
modeling, a procedure designed for what is generally referred to as a dichotomous or binary outcome variable.
(Recidivism, for example, is typically considered either a “yes” or “no” outcome, regardless of measurement
procedure.) Logistic regression, like many types of regression, allows for several variables to be entered into a
model while statistically controlling for the effects of other variables. Generally, when a multivariate model is
conducted, the variable of interest is highlighted (e.g., the effect of pretrial detention, or the length of pretrial
detention) while controlling for the effects of other variables (such as age, race, gender, risk level, and the like).

Also incorporated in the analysis are Poisson regression models, which are typically used when the outcome
variable is a discrete count (e.g., the number of months someone is sentenced to prison or jail, or the number of
times someone is arrested). Counts tend to be distributed in such a way that the assumptions of linear regression
are violated; therefore, an adjustment in modeling is required. Poisson regression, like logistic regression and
other types of regression, allows for several variables to be entered into a model while statistically controlling for
the effects of other variables. This allows for the examination of the effect of one or more variables of interest
(e.g., pretrial detention and/or the length of pretrial detention).

The county of case origin, although not shown in any of the multivariate tables published here, was included
in every multivariate model constructed and estimated. Robust standard error estimates were developed with
clustering at the county level and were used in all multivariate analyses.




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SAMPLE DESCRIPTION



The dataset described above, including 153,407 records representing all defendants arrested and booked into a
Kentucky jail between July 1, 2009, and June 30, 2010, was used for the analysis.

There are 120 counties and 84 local jails in Kentucky. Table A-1 (see Appendix A) provides a jail-by-jail
breakdown, identified by county location, and the number of cases originating from each jail. The number of
cases is presented (N), as well as the percentage of the total that each jail comprises. Results are grouped by
Pretrial, NCA-PD (12 months), and NCA-PD (24 months) samples. The vast majority of jails contributed
3% or less of the total sample, with the noted exception of Jefferson County (approximately 19%) and Fayette
County (approximately 7%).


Demographics
Table 1 presents descriptive information for the entire state sample, grouped in three different categories, or
models (Pretrial, NCA-PD 12 months, and NCA-PD 24 months). Taken as a whole, the sample is approximately
26% female, 74% male, 79% white, 17% black, and 4% hispanic. The average age is approximately 33, and
approximately 20% reported being married.

The different samples used to answer the research questions in this report tend to be similar. In most instances,
the number of defendants who are classified as hispanic or another ethnicity or race is insufficient to be included
in the statistical models as control variables. Therefore, most of the analyses only include white and black as
control variables.


Offense Information
Table 1 also presents the original offense types1 for the entire sample and each sub-sample used for the different
research questions. Generally, drug, traffic, theft, and driving under the influence appear to be the most frequent
offense types across the three samples.




1    It is important to note that defendants could contribute more than one offense to the offense type categorizations.



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Risk Level
Kentucky currently uses a research-based and validated assessment tool (Kentucky Pretrial Risk Assessment
[KPRA]) to assess the risk of pretrial failure (FTA and NCA). The KPRA consists of 12 risk factors, including
measures of offense class, criminal justice status, criminal history, failure to appear, and community stability,
with each risk factor having a corresponding weight (or points). The weights are summed for a total risk score.
The risk scores are categorized into three levels of risk — low, moderate, and high. For the sample, the largest
risk category was low risk, with 53% to 67% falling into that level across the five models. The moderate risk
level ranged between 29% and 40%, and the high risk level ranged between 3% and 7%.


Days in Pretrial Detention
Table 1 also presents information across the three models regarding days spent in pretrial detention. Cases in the
Pretrial model had the lowest average (6.38 days). This fact makes intuitive sense as the pretrial sample included
only those defendants who were, at some point, released pretrial. The other models included defendants who
were released as well as those who were detained for the entire pretrial period.


Outcomes
Rates of FTA and NCA were presented for the Pretrial model only, with an 11% FTA rate and a 10% NCA
rate. Other outcomes include the 12-month and 24-month recidivism rates for the NCA-PD 12 month and
NCA-PD 24 month models. The recidivism rate is 24% at 12 months and 34% at 24 months.



                                       Table 1. Descriptive Statistics for Three Models

                                               PRETRIAL MODEL        NCA-PD 12 MONTH MODEL      NCA-PD 24 MONTH MODEL
                                               N         % or           N         % or                N             % or
 Age                                       111688        33.18        142193       33.47           120962           33.44
 Female                                    111623        27.96        142145       26.12           120942           25.94
 White                                     110653        80.59        141092       79.62           120027           79.35
 Black                                     110653        17.21        141092       18.01           120027           18.06
 Hispanic                                  91153          5.00        117917       5.30             99711            5.82
 Married                                   108371        21.15        138607       19.96           112868           19.74
 Risk Level
    Low                                    79901         67.22         98707       62.36            82916           63.06
    Moderate                               79901         29.42         98707       32.89            82916           32.44
    High                                   79901          3.36         98707       4.07             82916            4.50
 Offense Type
    Drugs                                  112030        24.54        142571       23.24           121299           22.24
    Violent                                112030         4.15        142571       4.36            121299            4.12
    Domestic Violence                      112030         6.71        142571       7.09            121299            6.86
    Sex Offense                            112030         0.62        142571       0.45            121299            0.38
    Firearm                                112030         2.01        142571       1.90            121299            1.78




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    Theft                                  112030   18.44     142571    18.96           121299            18.59
    Traffic                                112030   30.10     142571    28.11           121299            28.72
    Driving Under the                      112030   22.37     142571    20.68           121299            20.55
    Influence
 Felony                                    112030   27.15     142571    26.61           121299            24.16
 Time at Risk                              109841   103.89
 Days Spent In Detention
    1 Day                                  112030   42.34     141676    32.92           120505            33.19
    2 to 3 Days                            112030   35.61     141676    33.58           120505            34.27
    4 to 7 Days                            112030    8.42     141676    10.16           120505            10.46
    8 to 14 Days                           112030    5.99     141676    9.85            120505            10.16
    15 to 30 Days                          112030    3.34     141676    5.20            120505            5.25
    31+ Days                               112030    4.31     141676    8.29            120505            6.67
 Mean Days                                 112030    6.38     141676    12.44           120505            9.20
 Detained Pretrial Yes/No                  112030    0.00     142571    25.32           121300            26.87
 FTA                                       112030   11.12
 NCA                                       112030   10.33
 Sentence in Months
       12 Month Recidivism                                    142571    23.65
       24 Month Recidivism                                                              121300            33.51




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RESEARCH OBJECTIVE ONE:
  Investigate the relationship between the length of pretrial detention and pretrial outcome




Research Questions
            1a. Is the length of pretrial detention related to the likelihood of pretrial FTA once other
                relevant statistical controls are considered?

            1b. Do the observed effects (of days spent in detention when predicting FTA) differ for sub-
                populations of defendants?

            1c. Is the length of pretrial detention related to the likelihood of pretrial NCA once other
                relevant statistical controls are considered?

            1d. Do the observed effects (of days spent in detention when predicting NCA) differ for
                sub-populations of defendants?


Primary Findings
Overall, when other relevant statistical controls are considered, defendants who are detained 2 to 3 days pretrial
are slightly more likely to FTA than defendants who are detained 1 day (1.09 times more likely). Examining
sub-populations of defendants revealed significant differences, however, in the impact of length of pretrial
detention when considering defendant risk level. Specifically, low-risk defendants are more likely to FTA if they
are detained 2 to 3 days (1.22 times more likely than low-risk defendants detained 1 day or less), 4 to 7 days
(1.22 times more likely), and 15 to 30 days (1.41 times more likely).

The analysis of the relationship between length of pretrial detention and NCA revealed that longer pretrial
detention periods were associated with an increase in NCA for each category. Similar to FTA, examining sub-
populations of defendants revealed significant differences in the impact of length of pretrial detention when
considering defendant risk level.




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    All categorizations of days spent in detention are associated with significant increases in the likelihood of
    NCA for low-risk defendants when compared to low-risk defendants detained for 1 day or less.

    The longer low-risk defendants are detained, the more likely they are to have new criminal activity pretrial
    (1.39 times more likely when held 2 to 3 days, increasing to 1.74 when held 31 days or more).

    For moderate-risk defendants, the lowest three categories of days spent in detention (2 to 3 days, 4 to 7 days,
    and 8 to 14 days) are associated with significant increases in the likelihood of NCA.

    None of the days-in-detention categories are significant predictors of NCA for high-risk defendants.


Methods and Analysis Results
Bivariate models as well as multivariate logistic regression models predicting FTA and NCA were used to
investigate these questions. Control items included length of pretrial detention, length of time in the community
(time at risk), defendant risk, demographics, and offense characteristics. The analysis was repeated for sub-
populations of defendants (i.e., gender, race, offense type, offense level and risk level).




                                                     RESEARCH QUESTION 1A



Is the length of pretrial detention related to the likelihood of pretrial FTA once
                other relevant statistical controls are considered?

To determine whether there was a relationship between the length of pretrial detention and the likelihood of
pretrial FTA, a multivariate logistic regression was estimated (see Table 2). The model included 66,014 cases and
controlled for age, gender, race, ethnicity, marital status, risk level, supervision status, offense type, offense level,
and time at risk. Several variables in the model revealed a statistically significant relationship with outcome;
however, the variable “days spent in detention” was of particular interest in light of the research question. Days
spent in detention was categorized in an ascending fashion (e.g., 1 day, 2 to 3 days, 4 to 7 days, 8 to 14 days,
and so on). Including days spent in detention into the model in this fashion allows for the examination of each
particular length of time as a predictor.

According to the odds ratio, the category 2 to 3 days was statistically and significantly (p < .05) related to FTA.
Further, having an odds ratio above 1.00 means detentions of 2 to 3 days (when compared to 1 day) were
associated with an increase in the likelihood of FTA. The categories 4 to 7 days, 8 to 14 days, and 15 to 30 days
were not statistically related to FTA. The category 31 or more days was statistically related to FTA but had an
odds ratio of less than 1.00, which indicates that defendants detained for that amount of time had a significant
reduction in the likelihood of FTA.2




2     The reason for this is unknown, yet it is likely that defendants detained more than 31 days have fewer court dates to attend while in
     the community, thereby reducing the number of opportunities defendants may have to fail to appear.


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                       Table 2. Multivariate Logistic Regression Predicting Pretrial FTA

                                                                                    ANY FTA
                                                                          ODDS RATIO       P
                                 Age                                      0.99             0.00
                                 Female                                   1.08             0.01
                                 White                                    1.03             0.81
                                 Black                                    1.24             0.11
                                 Hispanic                                 1.40             0.00
                                 Married                                  0.88             0.00
                                 Risk Level (Reference = Low)
                                        Moderate                          1.83             0.00
                                        High                              2.63             0.00
                                 On Probation or Parole                   1.08             0.05
                                 Offense Type
                                        Drugs                             0.98             0.47
                                        Violent                           0.70             0.00
                                        Domestic Violence                 0.51             0.00
                                        Sex Offense                       0.26             0.00
                                        Firearm                           0.82             0.04
                                        Theft                             1.41             0.00
                                        Traffic                           1.59             0.00
                                        Driving Under the Influence       0.50             0.00
                                        Felony                            0.54             0.00
                                 Time at Risk                             1.00             0.00
                                 Days Spent in Detention (Reference = 1 Day)
                                        2 to 3 Days                       1.09             0.01
                                        4 to 7 Days                       1.01             0.81
                                        8 to 14 Days                      1.00             0.95
                                        15 to 30 Days                     0.95             0.53
                                        31 or more Days                   0.80             0.01
                                 Constant                                 0.05             0.00
                                 N                                        66014
                                 Model X2                                 3819.16




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                                               RESEARCH QUESTION 1B


                       Do the observed effects (of days spent in detention
                  when predicting FTA) differ for sub-populations of defendants?

To determine whether the effects of days spent in detention differ for sub-populations of defendants, several
additional logistic regression models were calculated (see Table 3). Separate models were calculated for the
following sub-populations: whites, blacks, males, females, charged with a felony, charged with a misdemeanor,
low risk, medium risk and high risk.

The analysis was conducted for all defendants released at some point pending trial. When interpreting the results,
defendants released within one day were used as the reference or comparison group. For white defendants, even
short periods in detention (2 to 3 days and 4 to 7 days), when compared to 1 day, were associated with increases
in the odds of FTA, while longer periods were not related to FTA. The same held true for black defendants held
2 to 3 days, with longer periods of time not relating to the likelihood of FTA.

Male and female defendants were similar in that even short amounts of time in detention, when compared to
1 day, were statistically associated with increases in the likelihood of FTA (2 to 3 days for males, and both 2 to
3 days and 4 to 7 days for females).

The 2-to-3-day category was associated with a significant increase in the likelihood of FTA for both felony
and misdemeanor defendants. The 4-to-7-day category was significantly related to FTA for misdemeanor
defendants (but not felony defendants), while the 8-to-14-day category was significantly related to an increase
in the likelihood of FTA for felony defendants only.

For low-risk defendants, every category of detention except 8 to 14 days was associated with a significant
increase in the likelihood of FTA. For moderate-risk defendants, a short amount of time in detention (2 to 3
days) was associated with a significant increase in the likelihood of FTA, while longer amounts of time (15 to
30 days and 31 or more days) were associated with significant decreases in likelihood of FTA. For high-risk
defendants, only one categorization (31 or more days) was statistically predictive of FTA, indicating a decrease
in the likelihood.




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       Table 3. Parameter Estimates for Logistic Regression Analyses Predicting FTA


                                    DAYS SPENT IN
            SUBGROUP                 DETENTION           ODDS RATIO    P       LOWER 95% CI      UPPER 95% CI
                                   (Reference = 1 day)
         White
         53,135                  2 to 3 Days                1.17      0.00          1.09              1.25
                                 4 to 7 Days                1.17      0.01          1.04              1.31
                                 8 to 14 Days               1.03      0.66          0.90              1.18
                                 15 to 30 Days              1.05      0.62          0.87              1.25
                                 31 or more Days            0.87      0.20          0.71              1.07
         Black
         11,676                  2 to 3 Days                1.17      0.02          1.03              1.33
                                 4 to 7 Days                0.99      0.93          0.77              1.27
                                 8 to 14 Days               1.17      0.19          0.93              1.47
                                 15 to 30 Days              0.90      0.56          0.64              1.27
                                 31 or more Days            0.98      0.92          0.68              1.42


         Male
         47,200                  2 to 3 Days                1.14      0.00          1.06              1.22
                                 4 to 7 Days                1.11      0.10          0.98              1.25
                                 8 to 14 Days               1.04      0.56          0.91              1.20
                                 15 to 30 Days              0.91      0.30          0.75              1.09
                                 31 or more Days            0.89      0.29          0.73              1.10


         Female
         18,581                  2 to 3 Days                1.27      0.00          1.13              1.42
                                 4 to 7 Days                1.24      0.03          1.03              1.50
                                 8 to 14 Days               1.14      0.25          0.91              1.43
                                 15 to 30 Days              1.29      0.08          0.97              1.72
                                 31 or more Days            0.91      0.62          0.64              1.30


         Felony
         11,249                  2 to 3 Days                1.26      0.03          1.02              1.55
                                 4 to 7 Days                1.15      0.29          0.88              1.51
                                 8 to 14 Days               1.34      0.02          1.05              1.71
                                 15 to 30 Days              1.30      0.08          0.97              1.74
                                 31 or more Days            1.10      0.56          0.80              1.51


         Misdemeanor
         46,454                  2 to 3 Days                1.17      0.00          1.09              1.25
                                 4 to 7 Days                1.14      0.04          1.01              1.29
                                 8 to 14 Days               0.99      0.91          0.83              1.18
                                 15 to 30 Days              0.85      0.21          0.66              1.10
                                 31 or more Days            0.78      0.13          0.56              1.08



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            Low
            44,379                 2 to 3 Days            1.22              0.00              1.13               1.33
                                   4 to 7 Days            1.22              0.01              1.05               1.43
                                   8 to 14 Days           1.06              0.55              0.87               1.29
                                   15 to 30 Days          1.41              0.01              1.10               1.79
                                   31 or more Days        1.31              0.05              1.00               1.72


            Moderate
            19,300                 2 to 3 Days            1.12              0.03              1.01               1.24
                                   4 to 7 Days            1.08              0.29              0.93               1.26
                                   8 to 14 Days           1.06              0.48              0.90               1.25
                                   15 to 30 Days          0.78              0.03              0.62               0.98
                                   31 or more Days        0.77              0.05              0.60               0.99


            High
            2,161                  2 to 3 Days            0.88              0.39              0.65               1.18
                                   4 to 7 Days            0.84              0.38              0.57               1.24
                                   8 to 14 Days           0.82              0.31              0.55               1.21
                                   15 to 30 Days          0.75              0.26              0.45               1.23
                                   31 or more Days        0.41              0.00              0.22               0.74




                                                     RESEARCH QUESTION 1C


                 Is the length of pretrial detention related to the likelihood of
             pretrial NCA once other relevant statistical controls are considered?

The analysis discussed in Research Question 1a was replicated using NCA as the dependent variable. As before,
the variable of particular interest was length of days spent in detention. Every category of days spent in detention
was significantly related to the likelihood of NCA. Every category in ascending order (2 to 3 days through 31
or more days) was associated with a significant increase in the likelihood of NCA; however, the impact of 31 or
more days was not as large as the impact of other detention time periods.3




3    The argument can be made that at least some of the detained defendants would have recidivated regardless of the time in pretrial
     detention, and that the decision to detain those defendants was appropriate given their higher propensity to reoffend.



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                      Table 4. Multivariate Logistic Regression Predicting Pretrial NCA


                                                                              ANY NCA
                                                                 ODDS RATIO                P
                            Age                                       0.98               0.00
                            Female                                    0.77               0.00
                            White                                     0.98               0.91
                            Black                                     1.09               0.59
                            Hispanic                                  0.44               0.00
                            Married                                   0.89               0.00
                            Risk Level (Reference = Low Risk)
                                Moderate                              2.16               0.00
                                High                                  3.29               0.00
                            On Probation or Parole                    1.24               0.00
                            Offense Type
                                Drugs                                 1.26               0.00
                                Violent                               1.04               0.59
                                Domestic Violence                     1.01               0.89
                                Sex Offense                           0.75               0.11
                                Firearm                               1.14               0.11
                                Theft                                 1.39               0.00
                                Traffic                               1.04               0.21
                                Driving Under the Influence           0.97               0.46
                                Felony                                0.94               0.05
                            Time at Risk                              1.00               0.00
                            Days Spent in Detention (Reference = 1 day)
                                2 to 3 Days                           1.26               0.00
                                4 to 7 Days                           1.34               0.00
                                8 to 14 Days                          1.41               0.00
                                15 to 30 Days                         1.23               0.00
                                31 or more Days                       1.15               0.03
                            Constant                                  0.05               0.00
                            N                                        66024
                            Model X2                                4145.67




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                                                           RESEARCH QUESTION 1D


                      Do the observed effects (of days spent in detention
                 when predicting NCA) differ for sub-populations of defendants?

The analyses discussed in Research Question 1b were replicated using NCA as the dependent variable. As
before, the variable of particular interest was length of days spent in detention. The relationship between length
of days spent in detention and NCA was tested for each of several subgroups.

Table 5 contains the results for all subgroups. For white defendants, each successive categorization of days spent
in detention was associated with a significant increase in the likelihood of NCA. A similar trend was also noted
for black defendants.

For male defendants, only detention periods up to 14 days were associated with significant increases in the
likelihood of NCA. For female defendants, detention periods up to 30 days were associated with a significant
increase in the likelihood of NCA.

For felony defendants, two categories of days spent in detention (2 to 3 days and 8 to 14 days) were associated
with significant increases in the likelihood of NCA. For misdemeanor defendants, all categories of days spent
in detention were associated with a significant increase in the likelihood of NCA.

For low-risk defendants, all categories of days spent in detention were associated with significant increases in
the likelihood of NCA. In fact, the longer low-risk defendants were detained, the more likely they were to have
new criminal activity pretrial (1.39 times more likely for defendants detained 2 to 3 days, increasing to 1.74
times when detained 31 or more days). For moderate-risk defendants, the first three categories (2 to 3 days, 4
to 7 days, and 8 to 14 days) were associated with significant increases in the likelihood of NCA. None of the
categories were significant predictors of NCA for high-risk defendants.



        Table 5. Parameter Estimates for Logistic Regression Analyses Predicting NCA

                                          DAYS IN SPENT
                                                                                      LOWER 95%        UPPER 95%
                SUBGROUP                   DETENTION           ODDS RATIO    P
                                                                                         CI                CI
                                         (Reference = 1 day)
                White
                52,916                2 to 3 Days                 1.28      0.00          1.19             1.38
                                      4 to 7 Days                 1.37      0.00          1.24             1.52
                                      8 to 14 Days                1.48      0.00          1.32             1.67
                                      15 to 30 Days               1.28      0.00          1.10             1.49
                                      31 or more Days             1.20      0.03          1.02             1.42


                Black
                11,805                2 to 3 Days                 1.19      0.02          1.03             1.38
                                      4 to 7 Days                 1.27      0.05          1.00             1.61
                                      8 to 14 Days                1.23      0.08          0.98             1.54




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                                      15 to 30 Days       1.18     0.28         0.87             1.60
                                      31 or more Days     0.91     0.60         0.65             1.29


                Male
                47,209                2 to 3 Days         1.26     0.00         1.17             1.36
                                      4 to 7 Days         1.31     0.00         1.17             1.46
                                      8 to 14 Days        1.44     0.00         1.28             1.62
                                      15 to 30 Days       1.16     0.07         0.99             1.36
                                      31 or more Days     1.11     0.22         0.94             1.32


                Female
                18,712                2 to 3 Days         1.32     0.00         1.16             1.50
                                      4 to 7 Days         1.47     0.00         1.21             1.77
                                      8 to 14 Days        1.36     0.01         1.09             1.70
                                      15 to 30 Days       1.62     0.00         1.23             2.11
                                      31 or more Days     1.23     0.19         0.91             1.67


                Felony
                11,334                2 to 3 Days         1.20     0.05         1.00             1.44
                                      4 to 7 Days         1.22     0.08         0.98             1.51
                                      8 to 14 Days        1.50     0.00         1.23             1.84
                                      15 to 30 Days       1.09     0.50         0.85             1.39
                                      31 or more Days     1.01     0.94         0.78             1.31


                Misdemeanor
                46,337                2 to 3 Days         1.26     0.00         1.17             1.35
                                      4 to 7 Days         1.38     0.00         1.22             1.56
                                      8 to 14 Days        1.50     0.00         1.28             1.77
                                      15 to 30 Days       1.52     0.00         1.22             1.89
                                      31 or more Days     1.35     0.03         1.03             1.79


                Low
                44,468                2 to 3 Days         1.39     0.00         1.27             1.52
                                      4 to 7 Days         1.50     0.00         1.30             1.72
                                      8 to 14 Days        1.56     0.00         1.33             1.85
                                      15 to 30 Days       1.57     0.00         1.26             1.95
                                      31 or more Days     1.74     0.00         1.39             2.18


                Moderate
                19,368                2 to 3 Days         1.12     0.03         1.01             1.24
                                      4 to 7 Days         1.20     0.01         1.05             1.38
                                      8 to 14 Days        1.28     0.00         1.10             1.48
                                      15 to 30 Days       1.03     0.76         0.85             1.25
                                      31 or more Days     0.86     0.18         0.70             1.07




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              High
              2,171                 2 to 3 Days         1.19            0.27           0.87            1.62
                                    4 to 7 Days         1.25            0.25           0.86            1.83
                                    8 to 14 Days        1.34            0.12           0.93            1.95
                                    15 to 30 Days       1.29            0.27           0.82            2.04
                                    31 or more Days     0.87            0.57           0.53            1.42



RESEARCH OBJECTIVE TWO:
  Investigate the relationship between pretrial detention, as well as the length of pretrial detention, and new
criminal activity post-disposition (NCA-PD)




Research Questions
            2a. Is pretrial detention related to NCA-PD?

            2b. Do the observed effects of pretrial detention differ for sub-populations of defendants
                (likelihood of 12-month NCA-PD and 24-month NCA-PD)?

            2c. Is the length of pretrial detention related to NCA-PD?

            2d. Do the observed effects of the length of pretrial detention differ for sub-populations of
                defendants (likelihood of 12-month NCA-PD and 24-month NCA-PD)?


Primary Findings
Being detained for the entire pretrial period is related to the likelihood of post-disposition recidivism. When
other relevant statistical controls are considered, pretrial detention had a statistically significant and positive
(meaning increasing) effect on 12-month NCA-PD and 24-month NCA-PD. Defendants detained pretrial
were 1.3 times more likely to recidivate compared to defendants who were released at some point pending trial.
This association could indicate that there are unknown factors that cause both detention and recidivism, but it
is an association worthy of further exploration.

Each category of days spent in pretrial detention had a significant increase in the likelihood of both 12- and
24-month NCA-PD, with the exception of 31 or more days (which was not statistically significant). The results
suggest that the longer an individual stays in pretrial detention, the higher the likelihood of 12-month and
24-month NCA-PD.

When examining sub-populations, the relationship between pretrial detention and post-disposition recidivism
is strongest for low-risk defendants.

                  Each category of days spent in pretrial detention, except 31 or more, revealed a statistically
                  significant and increasing effect on the likelihood of 12-month NCA-PD for low-risk
                  defendants.

                  Generally, as the length of time in pretrial detention increases, so does the likelihood
                  that 12-month NCA-PD will occur for low-risk defendants (1.16 times more likely to
                  recidivate if detained 2 to 3 days, increasing to 1.43 times if detained 15 to 30 days).



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                  Each category of days spent in pretrial detention was associated with a significant increase
                  in the likelihood of 24-month NCA-PD for low-risk defendants (1.17 times more likely
                  to recidivate if detained 2 to 3 days, increasing to 1.46 times if detained 15 to 30 days).


Methods and Analysis Results
Multivariate logistic regression models were constructed to investigate the relationship between pretrial detention
and NCA post-disposition. Control items included risk level, supervision status, offense type, offense class,
incarceration history, and demographics. The analysis was repeated for sub-populations of defendants (i.e.,
gender, race, offense type, offense level and risk level).

                                                   RESEARCH QUESTION 2A


                                          Is pretrial detention related to NCA-PD?

NCA-PD was assessed at both 12-months and 24-months post-disposition. Table 6 presents the results of
multivariate logistic regression models that test the effects of pretrial detention when predicting NCA-PD while
controlling for age, gender, race, ethnicity, marital status, risk level, supervision status, offense type, offense class,
and incarceration history. Two models were calculated, one predicting 12-month NCA-PD and one predicting
24-month NCA-PD.

Being detained pretrial significantly increased the likelihood of 12-month and 24-month NCA-PD (1.3 times
more likely to recidivate within both time periods), while controlling for all other variables in the model.



       Table 6. Multivariate Logistic Regression Predicting Post-Disposition Recidivism

                                                               12 MONTH                       24 MONTH
                                                                NCA-PD                         NCA-PD
                                                     ODDS RATIO            P       ODDS RATIO             P
               Age                                      0.99              0.00         0.99              0.00
               Female                                   0.83              0.00         0.83              0.00
               White                                    1.44              0.00         1.40              0.00
               Black                                    1.52              0.00         1.50              0.00
               Hispanic                                 0.56              0.00         0.49              0.00
               Married                                  0.86              0.00         0.87              0.00
               Risk Level (Reference = Low Risk)
                      Moderate                          1.56              0.00         1.58              0.00
                      High                              1.75              0.00         1.78              0.00
               On Probation or Parole                   1.04              0.06         1.11              0.00
               Offense Type
                      Drugs                             1.10              0.00         1.12              0.00
                      Violent                           0.98              0.62         0.99              0.76
                      Domestic Violence                 0.97              0.33         0.99              0.87
                      Sex Offense                       0.75              0.02         0.79              0.07
                      Firearm                           0.98              0.71         0.96              0.53


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                       Theft                                1.17      0.00          1.17             0.00
                       Traffic                              0.96      0.06          0.94             0.00
                       Driving Under the Influence          0.77      0.00          0.81             0.00
                       Felony                               0.83      0.00          0.89             0.00
                       Incarceration                        1.09      0.00          1.14             0.00
               Detained Pretrial                            1.30      0.00          1.29             0.00
               Constant                                     0.32      0.00          0.59             0.00
               N                                           84,999                  71,062
               Model X2                                   3010.15                 3056.05




                                                       RESEARCH QUESTION 2B


          Do the observed effects of pretrial detention differ for sub-populations
          of defendants (likelihood of 12-month NCA-PD and 24-month NCA-PD)?

Table 7 presents the results of several logistic regression models that estimate the effects of pretrial detention
on 12-month NCA-PD, while controlling for age, gender, race, ethnicity, marital status, risk level, supervision
status, offense type, offense class, and incarceration history. The results are divided into subgroups as in previous
analyses (white, black, male, female, felony, misdemeanor, low risk, moderate risk, and high risk). Pretrial
detention was statistically significant and had a positive (increasing) effect on the likelihood of 12-month NCA-
PD for all models with the exception of felony defendants.

Similar results were revealed for 24-month NCA-PD (see Table 8). Pretrial detention was a statistically significant
and positive (increasing) predictor of 24-month NCA-PD while controlling for all other aforementioned
variables. Similar results were observed for all subgroups, with the exception of felony defendants, where
pretrial detention was not a significant predictor of 24-month NCA-PD.

                         Table 7. Parameter Estimates for Logistic Regression Analyses
                                       Predicting 12-Month Recidivism

               SUBGROUP                         N      ODDS RATIO     P        LOWER 95% CI     UPPER 95% CI
               White                           67885      1.32       0.00          1.26              1.38
               Black                           15817      1.21       0.00          1.10              1.32
               Male                            62109      1.31       0.00          1.25              1.37
               Female                          22884      1.25       0.00          1.15              1.36
               Felony                          14845      1.00       0.95          0.91              1.10
               Misdemeanor                     59333      1.45       0.00          1.38              1.52
               Risk Level
                      Low                      52303      1.27       0.00          1.20              1.35
                      Moderate                 28452      1.32       0.00          1.24              1.40
                      High                     4238       1.33       0.00          1.15              1.54




                        Table 8. Parameter Estimates for Logistic Regression Analyses
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                                                       Predicting 24 Month Recidivism

               SUBGROUP                         N          ODDS RATIO      P       LOWER 95% CI      UPPER 95% CI
               White                           56688          1.32        0.00          1.26              1.38
               Black                           13202          1.20        0.00          1.09              1.31
               Male                            51914          1.30        0.00          1.25              1.36
               Female                          19147          1.23        0.00          1.13              1.34
               Felony                          11402          0.97        0.56          0.88              1.07
               Misdemeanor                     51399          1.43        0.00          1.36              1.50
               Risk Level
                      Low                      44241          1.28        0.00          1.21              1.35
                      Moderate                 23462          1.30        0.00          1.23              1.38
                      High                     3350           1.28        0.00          1.09              1.49




                                                           RESEARCH QUESTION 2C


                             Is the length of pretrial detention related to NCA-PD?

Similar logistic regression models predicting 12-month NCA-PD and 24-month NCA-PD are presented in
Table 9, although the length of days spent in pretrial detention is broken out by category, as before (2 to 3
days, 4 to 7 days, 8 to 14 days, 15 to 30 days, and 31 or more days). Each category of days spent in pretrial
detention had a significant increase in the likelihood of both 12- and 24-month NCA-PD, with the exception of
31 or more, which was not statistically significant. In addition, the results suggest that the longer an individual
stays in pretrial detention, the higher the likelihood of NCA-PD at both the 12- and 24-month points. These
results were observed while controlling for all other variables in the model (age, gender, race, ethnicity, marital
status, risk level, supervision status, offense type, offense class, and incarceration history) and represent a general
pattern, with some exceptions, for length of time spent in pretrial detention.



        Table 9. Multivariate Logistic Regression Predicting Post-Disposition Recidivism




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                                                      12 MONTH        P         24 MONTH              P
                                                       NCA-PD                    NCA-PD
                                                     ODDS RATIO                ODDS RATIO
              Age                                            0.99    0.00          0.99              0.00
              Female                                         0.82    0.00          0.82              0.00
              White                                          1.44    0.00          1.41              0.00
              Black                                          1.52    0.00          1.51              0.00
              Hispanic                                       0.57    0.00          0.50              0.00
              Married                                        0.86    0.00          0.87              0.00
              Risk Level (Reference = Low Risk)
                     Moderate                                1.56    0.00          1.57              0.00
                     High                                    1.81    0.00          1.80              0.00
              On Probation or Parole                         1.06    0.02          1.11              0.00
              Offense Type
                     Drugs                                   1.09    0.00          1.11              0.00
                     Violent                                 0.97    0.48          0.98              0.56
                     Domestic Violence                       0.94    0.06          0.96              0.28
                     Sex Offense                             0.76    0.03          0.79              0.06
                     Firearm                                 0.97    0.64          0.95              0.37
                     Theft                                   1.16    0.00          1.16              0.00
                     Traffic                                 0.96    0.06          0.94              0.00
                     Driving Under the Influence             0.76    0.00          0.81              0.00
                     Felony                                  0.81    0.00          0.86              0.00
              Incarceration                                  1.11    0.00          1.16              0.00
              Days in Spent Detention (Reference = 1 day)
                     2 to 3 Days                             1.15    0.00          1.16              0.00
                     4 to 7 Days                             1.31    0.00          1.31              0.00
                     8 to 14 Days                            1.41    0.00          1.42              0.00
                     15 to 30 Days                           1.36    0.00          1.37              0.00
                     31 or more Days                         0.96    0.25          1.06              0.10
              Constant                                       0.30    0.00          0.55              0.00
              N                                             84,443               70,565
              Model X2                                  3056.05                  3402.06




                                                   RESEARCH QUESTION 2D.




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             Do the observed effects of the length of pretrial detention differ
          for sub-populations of defendants (likelihood of 12-month NCA-PD and
                                   24-month NCA-PD)?

Table 10 presents the results for several logistic regression models predicting the likelihood of 12-month NCA-
PD. The results are divided by defendant subgroup (race, gender, offense level and risk type). In addition, the
effects of each amount of time are presented categorically (e.g., 2 to 3 days, 4 to 7 days, and so on).

In general, it appears that the longer a defendant spends in pretrial detention, the more likely 12-month NCA-
PD is to occur. For white defendants, each category of days in pretrial detention was statistically significant
when predicting 12-month NCA-PD, with the exception of 31 or more days. For black defendants, a similar
pattern was observed, but the lowest length of pretrial detention (2 to 3 days) approached, but did not reach,
statistical significance.

Male and female defendants were nearly identical in that each category of days spent in pretrial detention,
except 31 or more days, was statistically significant and positive (increasing) in predicting the likelihood of
12-month NCA-PD.

For felony defendants, only the categories of 4 to 7 days and 8 to 14 days reached statistical significance when
predicting 12-month NCA-PD. Both categories had an increasing effect on the likelihood of 12-month NCA-
PD while all other categories were not significantly predictive.

For misdemeanor defendants, each category of days spent in pretrial detention, with the exception of 31 or more
days, revealed statistically significant and positive (increasing) effects on the likelihood of 12-month NCA-PD.

When low-risk defendants were isolated, each category of days spent in pretrial detention, with the exception of
31or more days, revealed a statistically significant and positive (increasing) effect on the likelihood of 12-month
NCA-PD.

When moderate-risk defendants were isolated, the lowest length of pretrial detention lost significance. Further,
while the ensuing lengths of pretrial detention (4 to 7 days, 8 to 14 days, 15 to 30 days) revealed a statistically
significant and increasing likelihood of 12-month NCA-PD, the final category (31 or more days) reversed the
previously established trend. Those detained 31 or more days were significantly less likely to have 12-month
NCA-PD.

For high-risk defendants, none of the categories of days spent in pretrial detention were predictive of 12-month
NCA-PD, except for the category of 31 or more days. Defendants who were detained for 31 or more days had
a significantly lower likelihood of 12-month NCA-PD.

Table 11 presents similar results to those that were presented in Table 10, although the outcome variable was
NCA-PD at the 24-month point.

For white, black, female and male defendants, each category of days spent in detention, except 31 or more days,
was associated with a significant increase in the likelihood that NCA-PD will occur at the 24-month point. In
addition, it appears that generally the strength of the relationship may increase with each increase in the amount
of time spent in pretrial detention.




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For felony defendants, the middle three categories (4 to 7 days, 8 to 14 days, and 15 to 30 days) were statistically
related to 24-month NCA-PD. Each of these three time categories was associated with a significant increase in
the likelihood of-24 month NCA-PD.

The same pattern that was observed above for white, black, male and female defendants was also revealed for
misdemeanor defendants, with each category of days spent in pretrial detention, except 31 or more days, being
associated with a significant increase in the likelihood of 24-month NCA-PD. Likewise, the strength of the
relationship may increase with each increase in the amount of time.

For low-risk defendants, each category of days spent in detention was associated with a significant increase in
the likelihood of 24-month NCA-PD. The strength of the relationship appears to increase with each increase
in the amount of pretrial detention time but drops at 31 days or more.

For moderate-risk defendants, all categories of days spent in detention pretrial, except 31 or more, was associated
with a significant increase in the likelihood of 24-month NCA-PD. As was observed in several examples before,
the strength of the relationship generally appears to increase as the amount of time spent in pretrial detention
increases.

For high-risk defendants, only 31 or more days spent in detention pretrial was significantly associated
with 24-month NCA-PD, and the relationship was negative. In other words, defendants who spent 31 or
more days in pretrial detention had a statistically significant reduction in the likelihood of NCA-PD at the
24-month point.

                        Table 10. Parameter Estimates for Logistic Regression Analyses
                                       Predicting 12 Month Recidivism

                                      DAYS IN SPENT
                                      DETENTION
       SUBGROUP                                         ODDS RATIO    P         LOWER 95% CI        UPPER 95% CI
                                      (REFERENCE = 1
                                      DAY)
       White
       67,885                         2 to 3 Days          1.16      0.00            1.11                1.22
                                      4 to 7 Days          1.33      0.00            1.25                1.43
                                      8 to 14 Days         1.42      0.00            1.32                1.52
                                      15 to 30 Days        1.38      0.00            1.27                1.50
                                      31 or more Days      0.97      0.50            0.90                1.05


       Black
       15,817                         2 to 3 Days          1.09      0.07            0.99                1.21
                                      4 to 7 Days          1.19      0.02            1.02                1.37
                                      8 to 14 Days         1.31      0.00            1.15                1.50
                                      15 to 30 Days        1.21      0.03            1.02                1.43
                                      31 or more Days      0.86      0.06            0.74                1.01


       Male
       62,109                         2 to 3 Days          1.15      0.00            1.09                1.21
                                      4 to 7 Days          1.31      0.00            1.22                1.40




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                                      8 to 14 Days      1.45       0.00            1.35                1.56
                                      15 to 30 Days     1.39       0.00            1.27                1.51
                                      31 or more Days   0.97       0.44            0.90                1.05


       Female
       22,884                         2 to 3 Days       1.16       0.00            1.07                1.26
                                      4 to 7 Days       1.29       0.00            1.15                1.46
                                      8 to 14 Days      1.27       0.00            1.12                1.45
                                      15 to 30 Days     1.26       0.01            1.07                1.48
                                      31 or more Days   0.92       0.29            0.80                1.07


       Felony
       14,845                         2 to 3 Days       1.10       0.18            0.96                1.27
                                      4 to 7 Days       1.24       0.01            1.05                1.46
                                      8 to 14 Days      1.40       0.00            1.20                1.62
                                      15 to 30 Days     1.16       0.10            0.97                1.38
                                      31 or more Days   0.97       0.67            0.83                1.13
       Misdemeanor
       59,333                         2 to 3 Days       1.15       0.00            1.10                1.21
                                      4 to 7 Days       1.31       0.00            1.22                1.40
                                      8 to 14 Days      1.44       0.00            1.32                1.56
                                      15 to 30 Days     1.36       0.00            1.24                1.50
                                      31 or more Days   0.94       0.23            0.85                1.04
       Low
       52,303                         2 to 3 Days       1.16       0.00            1.10                1.23
                                      4 to 7 Days       1.32       0.00            1.21                1.43
                                      8 to 14 Days      1.45       0.00            1.33                1.59
                                      15 to 30 Days     1.43       0.00            1.28                1.61
                                      31 or more Days   1.09       0.11            0.98                1.21
       Moderate
       28,452                         2 to 3 Days       1.07       0.10            0.99                1.15
                                      4 to 7 Days       1.21       0.00            1.10                1.34
                                      8 to 14 Days      1.28       0.00            1.16                1.41
                                      15 to 30 Days     1.23       0.00            1.10                1.38
                                      31 or more Days   0.88       0.02            0.79                0.98
       High
       4,238                          2 to 3 Days       0.96       0.78            0.74                1.25
                                      4 to 7 Days       1.04       0.79            0.78                1.39
                                      8 to 14 Days      1.21       0.19            0.91                1.61
                                      15 to 30 Days     1.18       0.31            0.86                1.61
                                      31 or more Days   0.68       0.01            0.51                0.91




                         Table 11. Parameter Estimates for Logistic Regression Analyses
                                        Predicting 24 Month Recidivism

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               SUBGROUP             DAYS SPENT IN         ODDS RATIO    P        LOWER 95%       UPPER 95% CI
                                    DETENTION                                       CI
                                    (Reference = 1 day)
               White
               56,688               2 to 3 Days              1.17      0.00         1.12              1.23
                                    4 to 7 Days              1.35      0.00         1.26              1.44
                                    8 to 14 Days             1.45      0.00         1.35              1.55
                                    15 to 30 Days            1.40      0.00         1.29              1.53
                                    31 or more Days          1.06      0.17         0.98              1.15


               Black
               13,202               2 to 3 Days              1.12      0.02         1.02              1.23
                                    4 to 7 Days              1.16      0.04         1.00              1.35
                                    8 to 14 Days             1.28      0.00         1.12              1.46
                                    15 to 30 Days            1.21      0.03         1.02              1.43
                                    31 or more Days          1.04      0.62         0.89              1.22


               Male
               51,914               2 to 3 Days              1.15      0.00         1.10              1.21
                                    4 to 7 Days              1.30      0.00         1.22              1.39
                                    8 to 14 Days             1.42      0.00         1.32              1.52
                                    15 to 30 Days            1.39      0.00         1.28              1.52
                                    31 or more Days          1.07      0.10         0.99              1.16


               Female
               19,147               2 to 3 Days              1.19      0.00         1.10              1.29
                                    4 to 7 Days              1.33      0.00         1.18              1.49
                                    8 to 14 Days             1.40      0.00         1.23              1.58
                                    15 to 30 Days            1.25      0.01         1.07              1.47
                                    31 or more Days          1.03      0.72         0.88              1.20


               Felony
               11,402               2 to 3 Days              1.11      0.14         0.97              1.28
                                    4 to 7 Days              1.28      0.00         1.09              1.51
                                    8 to 14 Days             1.42      0.00         1.22              1.64
                                    15 to 30 Days            1.26      0.01         1.06              1.50
                                    31 or more Days          1.11      0.19         0.95              1.30


               Misdemeanor
               51,399               2 to 3 Days              1.16      0.00         1.11              1.21
                                    4 to 7 Days              1.30      0.00         1.21              1.39
                                    8 to 14 Days             1.46      0.00         1.34              1.58
                                    15 to 30 Days            1.36      0.00         1.23              1.49
                                    31 or more Days          1.05      0.33         0.95              1.17




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               Low
               44,241               2 to 3 Days        1.17      0.00          1.11             1.24
                                    4 to 7 Days        1.35      0.00          1.25             1.46
                                    8 to 14 Days       1.51      0.00          1.39             1.65
                                    15 to 30 Days      1.46      0.00          1.31             1.63
                                    31 or more Days    1.16      0.01          1.04             1.29


               Moderate
               23,462               2 to 3 Days        1.09      0.04          1.01             1.18
                                    4 to 7 Days        1.20      0.00          1.09             1.32
                                    8 to 14 Days       1.26      0.00          1.14             1.39
                                    15 to 30 Days      1.21      0.00          1.08             1.36
                                    31 or more Days    0.99      0.83          0.88             1.10


               High
               3,350                2 to 3 Days        0.86      0.30          0.65             1.14
                                    4 to 7 Days        0.89      0.46          0.65             1.21
                                    8 to 14 Days       1.06      0.73          0.77             1.44
                                    15 to 30 Days      1.10      0.60          0.78             1.54
                                    31 or more Days    0.69      0.03          0.50             0.95


APPENDIX




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Appendix A: Table A-1


                              PRETRIAL                 NCA-PD 12                  NCA-PD 24
     JAIL BY COUNTY      N                %       N                 %        N                %
  ADAIR                 588              0.52    638               0.45     525           0.43
  ALLEN                 475              0.42    515               0.36     368               0.3
  BALLARD               282              0.25    346               0.24     299           0.25
  BARREN                1,595            1.42   1,787              1.25     1,383         1.14
  BELL                  1,253            1.12   1,376              0.97     1,117         0.92
  BOONE                 3,219            2.87   3,608              2.53     3,198         2.64
  BOURBON               508              0.45    683               0.48     560           0.46
  BOYD                  1,388            1.24   2,132              1.5      1,929         1.59
  BOYLE                 1,080            0.96   1,474              1.03     1,269         1.05
  BRECKINRIDGE          439              0.39    498               0.35     398           0.33
  BULLITT               1,698            1.52   1,792              1.26     1,307         1.08
  BUTLER                259              0.23    249               0.17     213           0.18
  CALDWELL              410              0.37    479               0.34     393           0.32
  CALLOWAY              608              0.54    749               0.53     666           0.55
  CAMPBELL              1,993            1.78   2,756              1.93     2,535         2.09
  CARROLL               1,371            1.22   1,625              1.14     1,358         1.12
  CARTER                783              0.7     941               0.66     757           0.62
  CASEY                 398              0.36    456               0.32     394           0.32
  CHRISTIAN             2,314            2.07   3,399              2.38     2,838         2.34
  CLARK                 746              0.67   1,195              0.84     1,051         0.87
  CLAY                  633              0.57   1,003              0.7      902           0.74
  CLINTON               210              0.19    224               0.16     169           0.14
  CRITTENDEN            183              0.16    251               0.18     201           0.17
  DAVIESS               2,703            2.41   3,266              2.29     2,874         2.37
  ESTILL                296              0.26    390               0.27     324           0.27
  FAYETTE               6,971            6.22   10,868             7.62     9,901         8.16
  FLOYD                 1,079            0.96   1,541              1.08     1,270         1.05
  FRANKLIN              1,661            1.48   2,077              1.46     1,753         1.45
  FULTON                325              0.29    415               0.29     359               0.3
  GRANT                 739              0.66    928               0.65     799           0.66
  GRAVES                1,201            1.07   1,434              1.01     1,172         0.97
  GRAYSON               777              0.69    858               0.6      676           0.56
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 GREENUP             462      0.41     796         0.56         694        0.57
 HARDIN             2,335     2.08    2,887        2.02         2,560      2.11
 HARLAN             1,305     1.16    1,618        1.13         1,344      1.11
 HART                390      0.35     520         0.36         417        0.34
 HENDERSON          1,341     1.2     2,067        1.45         1,900      1.57
 HICKMAN             113      0.1      145         0.1          125         0.1
 HOPKINS            1,456     1.3     1,901        1.33         1,686      1.39
 JACKSON             263      0.23     371         0.26         316        0.26
 JEFFERSON          22,189   19.81    27,095       19       22,910         18.89
 JESSAMINE          1,449     1.29    1,937        1.36         1,652      1.36
 JOHNSON            2,896     2.59    3,287        2.31         2,722      2.24
 KENTON             5,015     4.48    6,540        4.59         5,929      4.89
 KNOX               1,019     0.91    1,319        0.93         1,184      0.98
 LARUE               212      0.19     293         0.21         241         0.2
 LAUREL             1,637     1.46    2,270        1.59         1,976      1.63
 LEE                 923      0.82    1,210        0.85         986        0.81
 LESLIE              274      0.24     357         0.25         301        0.25
 LETCHER             715      0.64     788         0.55         652        0.54
 LEWIS               185      0.17     248         0.17         203        0.17
 LINCOLN             638      0.57     852         0.6          721        0.59
 LOGAN               604      0.54     818         0.57         720        0.59
 MADISON            1,804     1.61    2,405        1.69         2,145      1.77
 MARION              709      0.63     878         0.62         722         0.6
 MARSHALL            619      0.55     671         0.47         585        0.48
 MASON              1,033     0.92    1,198        0.84         972         0.8
 MCCRACKEN          1,933     1.73    2,606        1.83         2,333      1.92
 MCCREARY            501      0.45     612         0.43         497        0.41
 MEADE               445      0.4      529         0.37         422        0.35
 MONROE              220      0.2      258         0.18         214        0.18
 MONTGOMERY         1,136     1.01    1,382        0.97         1,106      0.91
 MUHLENBERG          605      0.54     816         0.57         678        0.56
 NELSON              826      0.74     955         0.67         821        0.68
 OHIO                635      0.57     703         0.49         606         0.5
 OLDHAM              805      0.72     872         0.61         713        0.59
 PERRY              1,147     1.02    1,420         1           1,062      0.88
 PIKE               2,328     2.08    2,599        1.82         2,054      1.69
 POWELL              400      0.36     640         0.45         558        0.46
 PULASKI            1,605     1.43    2,056        1.44         1,693       1.4
 ROCKCASTLE          584      0.52     806         0.57         664        0.55
 ROWAN              1,111     0.99    1,310        0.92         1,055      0.87
 RUSSELL             407      0.36     404         0.28         338        0.28
 SCOTT               725      0.65     951         0.67         798        0.66
 SHELBY             1,401     1.25    1,680        1.18         1,356      1.12
 SIMPSON             540      0.48     619         0.43         450        0.37
 TAYLOR              779      0.7      958         0.67         833        0.69
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   TODD                           203          0.18         300          0.21         278          0.23
   UNION                          374          0.33         506          0.35         439          0.36
   WARREN                        3,293         2.94        4,334         3.04        3,417         2.82
   WAYNE                          373          0.33         424          0.3          320          0.26
   WEBSTER                        324          0.29         369          0.26         297          0.24
   WHITLEY                       1,223         1.09        1,570         1.1         1,242         1.02
   WOODFORD                       336          0.3          468          0.33         435          0.36




Appendix B: References


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